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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v.-                                                 :     19-cr-500 (PKC)
                                                                       :
JHANCARLOS ACOSTA-LIRIANO                                              :        ORDER
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- X

CASTEL, U.S.D.J.

                 The November 12, 2020 conference has been rescheduled for November 9, 2020

and will be conducted telephonically. The proceeding will commence at 9:00 a.m. As

requested, defense counsel to Mr. Acosta-Liriano will be given an opportunity to speak with his

client by telephone for fifteen minutes before the proceeding begins (i.e., at 8:45 a.m.). Defense

counsel should make sure to answer at the telephone number that counsel previously provided to

Chambers.

                 The dial-in information for the proceeding is as follows:

                 Phone Number:              888-363-4749

                 Access Code:               3667981

Members of the press and public may access this proceeding with the same information but will

not be permitted to speak during the teleconference.

                 On the teleconference, counsel should adhere to the following rules and

guidelines during the proceeding:

             1. Counsel should use a landline whenever possible, should use a headset instead of a
                speakerphone, and must mute themselves whenever they are not speaking to
                eliminate background noise. In addition, counsel should not use voice-activated
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            systems that do not allow the user to know when someone else is trying to speak at
            the same time.

         2. To facilitate an orderly teleconference and the creation of an accurate transcript,
            counsel are required to identify themselves every time they speak. Counsel should
            spell any proper names for the court reporter. Counsel should also take special care
            not to interrupt or speak over one another.

         3. If there is a beep or chime indicating that a new caller has joined while counsel is
            speaking, counsel should pause to allow the Court to ascertain the identity of the
            new participant and confirm that the court reporter has not been dropped from the
            call.

      SO ORDERED.




Dated: November 5, 2020
       New York, New York




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